        Exhibit 13




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Design   2017    Infringing Product Image             Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
1        March                                                                    https://www.sunfrog.co    Bomman
                                                                                  m/Automotive/1158172
                                                                                  22-476242273.html


                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2017/03/14/2
                                                                                  0903-1489498505264-
                                                                                  Gildan-Men-Navy-Blue-
                                                                                  _w92_-front.jpg




2        March                                                                    https://www.sunfrog.co    Bomman
                                                                                  m/115815301-
                                                                                  476201927.html

                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2017/03/14/2
                                                                                  0903-1489497283801-
                                                                                  Gildan-Men-White-
                                                                                  _w92_-front.jpg




                                                              1

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Design   2017    Infringing Product Image             Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
3        March                                                                    https://www.sunfrog.co    Bomman
                                                                                  m/115816210-
                                                                                  476220858.html

                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2017/03/14/2
                                                                                  0903-1489497866747-
                                                                                  Gildan-Men-White-
                                                                                  _w92_-front.jpg




4        March                                                                    https://www.sunfrog.co    Bomman
                                                                                  m/115816849-
                                                                                  476234189.html


                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2017/03/14/2
                                                                                  0903-1489498266539-
                                                                                  Gildan-Hoo-White-
                                                                                  _w92_-front.jpg




                                                              2

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Design   2017    Infringing Product Image             Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
5        March                                                                    https://www.sunfrog.co    Bomman
                                                                                  m/115818713-
                                                                                  476274174.html


                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2017/03/14/2
                                                                                  0903-1489499457379-
                                                                                  Gildan-Men-Black-
                                                                                  _w92_-front.jpg




6        March                                                                    https://www.sunfrog.co    Bomman
                                                                                  m/115819379-
                                                                                  476287584.html


                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2017/03/14/2
                                                                                  0903-1489499879256-
                                                                                  Gildan-Men-Dark-Grey-
                                                                                  _w92_-front.jpg




                                                              3

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Design   2017    Infringing Product Image             Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
7        March                                                                    https://www.sunfrog.co    Bomman
                                                                                  m/115820020-
                                                                                  476300335.html


                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2017/03/14/2
                                                                                  0903-1489500297769-
                                                                                  Gildan-Men-Black-
                                                                                  _w92_-front.jpg




8        March                                                                    https://www.sunfrog.co    Bomman
                                                                                  m/115911027-
                                                                                  478005045.html


                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2017/03/15/2
                                                                                  0903-1489557817778-
                                                                                  Gildan-Men-White-
                                                                                  _w91_-front.jpg




                                                              4

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Design   2017    Infringing Product Image             Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
9        March                                                                    https://www.sunfrog.co    Bomman
                                                                                  m/115926825-
                                                                                  478294304.html


                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2017/03/15/2
                                                                                  0903-1489567708303-
                                                                                  Gildan-Men-Black-
                                                                                  _w93_-front.jpg




10       March                                                                    https://www.sunfrog.co    Bomman
                                                                                  m/Sports/115818051-
                                                                                  476259829.html

                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2017/03/14/2
                                                                                  0903-1489499033455-
                                                                                  Gildan-Hoo-White-
                                                                                  _w92_-front.jpg




                                                              5

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Design   2017    Infringing Product Image             Infringing Design Excerpt   SunFrog URLs               SunFrog Seller
No.      Month
11       March                                                                    https://www.sunfrog.co     MrThanh_VN_9
                                                                                  m/Biker-Dad.html           9688679

                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2016/02/18/B
                                                                                  iker-Dad.jpg




12       March                                                                    https://www.sunfrog.co     MrThanh_VN_9
                                                                                  m/Biker-Shirt--Its-Not-    9688679
                                                                                  The-Destination-Its-The-
                                                                                  Ride.html

                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2016/02/18/B
                                                                                  iker-Shirt--Its-Not-The-
                                                                                  Destination-Its-The-
                                                                                  Ride.jpg




                                                              6

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Design   2017    Infringing Product Image             Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
13       March                                                                    https://www.sunfrog.co    Nguyenkhanhng
                                                                                  m/Names/109457363-        oc
                                                                                  289840492.html

                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2016/11/26/6
                                                                                  9207-1480173762425-
                                                                                  Gildan-Men-Black-
                                                                                  _w92_-front.jpg




14       March                                                                    https://www.sunfrog.co    MrThanh_VN_9
                                                                                  m/Biker-Grandma-          9688679
                                                                                  90892950-Guys.html

                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2016/02/18/B
                                                                                  iker-Grandma.jpg




                                                              7

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Design   2017    Infringing Product Image             Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
15       March                                                                    https://www.sunfrog.co    Revivekt3
                                                                                  m/Outdoor/114662719-
                                                                                  449335216.html

                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2017/03/03/8
                                                                                  9099-1488528520397-
                                                                                  Gildan-Men-Navy-Blue-
                                                                                  _w93_-front.jpg




16       March                                                                    https://www.sunfrog.co    Dragan
                                                                                  m/Automotive/1150511
                                                                                  40-457924252.html

                                                                                  https://images.sunfrogs
                                                                                  hirts.com/2017/03/06/7
                                                                                  4907-1488834291951-
                                                                                  Coffee-Mug-White-
                                                                                  _w91_-front.jpg




                                                              8

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
17       March                                                                   https://www.sunfrog.co    Revivekt3
                                                                                 m/114924041-
                                                                                 455018914.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/05/8
                                                                                 9099-1488736517541-
                                                                                 Gildan-Men-Dark-Grey-
                                                                                 _w93_-front.jpg




18       March                                                                   https://www.sunfrog.co    Dragan
                                                                                 m/motorcycle-
                                                                                 221042961-Guys-
                                                                                 Black.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2016/09/09/7
                                                                                 4907-1473426686750-
                                                                                 Gildan-Men-Black-
                                                                                 _w92_-front.jpg




                                                             9

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
19       March                                                                   https://www.sunfrog.co    PugsAreUs
                                                                                 m/Harley-Bitch-
                                                                                 Shirt.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/Harley%20Bit
                                                                                 ch.jpg




20       March                                                                   https://www.sunfrog.co    Tonyvuthi
                                                                                 m/Automotive/1102078
                                                                                 56-312883726.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2016/12/09/9
                                                                                 537-1481297447786-
                                                                                 Gildan-Hoo-Black-
                                                                                 _w92_-back.jpg




                                                            10

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
21       March                                                                   https://www.sunfrog.co    DesignBySunTee
                                                                                 m/116849692-
                                                                                 500305605.html?86817

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/23/8
                                                                                 6817-1490285145758-
                                                                                 Gildan-Men-Dark-Grey-
                                                                                 _w93_-front.jpg




22       March                                                                   https://www.sunfrog.co    Peterbilt
                                                                                 m/116030746-
                                                                                 480680545.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/16/6
                                                                                 43AF3F5-155D-1590-
                                                                                 89616D1D160AC485.jpg




                                                            11

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
23       March                                                                   https://www.sunfrog.co    Peterbilt
                                                                                 m/116031320-
                                                                                 480694637.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/16/7
                                                                                 5226-1489663356395-
                                                                                 Xlusion--L-Black-_w93_-
                                                                                 front.jpg




24       March                                                                   https://www.sunfrog.co    BW999
                                                                                 m/116949319-
                                                                                 502586689.html?81088

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/24/8
                                                                                 1088-1490368726256-
                                                                                 Gildan-Hoo-Black-
                                                                                 _w93_-front.jpg




                                                            12

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
25       March                                                                   https://www.sunfrog.co    Peterbilt
                                                                                 m/115791725-
                                                                                 475755867.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/7
                                                                                 5226-1489477140887-
                                                                                 Xlusion--L-Black-_w93_-
                                                                                 front.jpg




26       March                                                                   https://www.sunfrog.co    Peterbilt
                                                                                 m/115788600-
                                                                                 475686199.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/F
                                                                                 44F0BE7-155D-1590-
                                                                                 89B11B2C25E9E178.jpg




                                                            13

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
27       March                                                                   https://www.sunfrog.co    Peterbilt
                                                                                 m/115786678-
                                                                                 475648380.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/F
                                                                                 34E5AC9-155D-1590-
                                                                                 896A28059892C1A4.jpg




28       March                                                                   https://www.sunfrog.co    Peterbilt
                                                                                 m/115778241-
                                                                                 475480905.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/E
                                                                                 EB2FB81-155D-1590-
                                                                                 89E60EA86124F82B.jpg




                                                            14

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
29       March                                                                   https://www.sunfrog.co    Nguyenhuuhz
                                                                                 m/Hobby/114172977-
                                                                                 436339574.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/02/24/7
                                                                                 1216-1487962182047-
                                                                                 Gildan-Men-Black-
                                                                                 _w93_-front.jpg




30       March                                                                   https://www.sunfrog.co FoxKun
                                                                                 m/Funny/IM-THE-BIKER-
                                                                                 Purple-Guys.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2016/05/18/I
                                                                                 M-THE-BIKER-Purple-
                                                                                 _w91_-front.jpg




                                                            15

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
31       March                                                                   https://www.sunfrog.co    Florencetoliver
                                                                                 m/Automotive/Passed-
                                                                                 by-a-Sportster-
                                                                                 254954272-Guys-Royal-
                                                                                 Blue.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2016/10/31/8
                                                                                 1096-1477927733929-
                                                                                 Gildan-Men-Royal-Blue-
                                                                                 _w91_-front.jpg




32       March                                                                   https://www.sunfrog.co    GraphicGod
                                                                                 m/Automotive/Sportste
                                                                                 r-Sickness-Guys-
                                                                                 Black.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2016/10/20/8
                                                                                 0104-1476979708795-
                                                                                 Gildan-Men-Black-
                                                                                 _w92_-front.jpg




                                                            16

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
33       March                                                                   https://www.sunfrog.co    BW999
                                                                                 m/116667671-
                                                                                 495880919.html?81088

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/22/8
                                                                                 1088-1490156339343-
                                                                                 Gildan-Lad-White-
                                                                                 _w91_-front.jpg




34       April                                                                   https://www.sunfrog.co    Tomhandsome
                                                                                 m/114761795-
                                                                                 451604416.html?75233

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/03/E
                                                                                 AE4F0C7-155D-158F-
                                                                                 CB2FC67E9EF785F9.jpg




                                                            17

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
35       April                                                                   https://www.sunfrog.co    hiepstudio123
                                                                                 m/Biker-PaPa-
                                                                                 50863765-
                                                                                 Guys.html?70244

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2015/05/28/B
                                                                                 iker-PaPa.jpg




36       April                                       Back design                 https://www.sunfrog.co    BW999
                                                                                 m/116199139-
                                                                                 484622986.html?81088
                                                                                 &usi_discount=SAVE10A
                                                                                 PR17

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/18/8
                                                                                 1088-1489811212827-
                                                                                 Gildan-Hoo-White-
                                                                                 _w91_-front.jpg




                                                            18

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
37       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118190603-
                                                                                 534980684.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/7
                                                                                 23695E5-155D-158F-
                                                                                 B47D79468E68102D.jpg




38       April                                                                   https://www.sunfrog.co    BW999
                                                                                 m/115892577-
                                                                                 477625254.html?75237

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/8
                                                                                 1088-1489547234097-
                                                                                 Gildan-Men-White-
                                                                                 _w93_-front.jpg




                                                            19

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
39       April                                                                   https://www.sunfrog.co    POKA
                                                                                 m/117497523-
                                                                                 515954155.html?75237

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/29/0
                                                                                 EE66F72-155D-158F-
                                                                                 B4267678945584A1.jpg




40       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118143846-
                                                                                 533683828.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491376769639-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




                                                            20

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
41       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118194101-
                                                                                 535064473.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491406293325-
                                                                                 Gildan-Lad-Green-
                                                                                 _w91_-front.jpg




42       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118143646-
                                                                                 533677969.htm

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491376662027-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




                                                            21

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
43       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118159888-
                                                                                 534153561.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491385408192-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




44       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118142769-
                                                                                 533654638.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491376226685-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




                                                            22

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
45       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118160872-
                                                                                 534184136.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491385987582-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




46       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118160112-
                                                                                 534160570.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491385539429-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
47       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118144330-
                                                                                 533697903.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491377037140-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




48       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118145197-
                                                                                 533722948.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491377515578-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
49       April                                                                   https://www.sunfrog.co    viethoang3791
                                                                                 m/117451670-
                                                                                 514770430.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/29/3
                                                                                 0387-1490778173020-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




50       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118139968-
                                                                                 533583129.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491374798630-
                                                                                 Gildan-Men-White-
                                                                                 _w91_-front.jpg




                                                            25

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
51       April                                                                   https://www.sunfrog.co    Adesignz
                                                                                 m/118102937-
                                                                                 532558591.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/04/1
                                                                                 1113-1491353112794-
                                                                                 Gildan-Lad-Black-
                                                                                 _w93_-front.jpg




52       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118144050-
                                                                                 533689853.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491376880561-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
53       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118141816-
                                                                                 533630031.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491375715157-
                                                                                 Gildan-Men-White-
                                                                                 _w91_-front.jpg




54       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118142063-
                                                                                 533636569.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491375851381-
                                                                                 Gildan-Men-White-
                                                                                 _w91_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
55       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/118193153-
                                                                                 535039193.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491405676221-
                                                                                 Gildan-Hoo-Black-
                                                                                 _w91_-front.jpg




56       April                                                                   https://www.sunfrog.co    BestTeeHQ
                                                                                 m/113703961-
                                                                                 421890070.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/02/18/8
                                                                                 2352-1487424557976-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
57       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/115924999-
                                                                                 478261356.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/15/2
                                                                                 0903-1489566371393-
                                                                                 Gildan-Men-Black-
                                                                                 _w93_-front.jpg




58       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/Sports/116313958-
                                                                                 487251686.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/18/2
                                                                                 0903-1489895178233-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
59       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/Sports/115924544-
                                                                                 478253052.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/15/2
                                                                                 0903-1489566051191-
                                                                                 Gildan-Men-White-
                                                                                 _w91_-front.jpg




60       April                                                                   https://www.sunfrog.co    Ngduong
                                                                                 m/114677275-
                                                                                 449692279.html?80432

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/03/8
                                                                                 0432-1488537301830-
                                                                                 Gildan-Men-Black-
                                                                                 _w93_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
61       April                                                                   https://www.sunfrog.co    Izi
                                                                                 m/Sports/117639616-
                                                                                 519759223.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/31/5
                                                                                 AFFADF9-155D-158F-
                                                                                 B480C90F595341E5.jpg




62       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/121794139-
                                                                                 633315804.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/29/7
                                                                                 5226-1493520955687-
                                                                                 Xlusion--L-Black-_w91_-
                                                                                 front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
63       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/Sports/118160454-
                                                                                 534171317.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491385733468-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




64       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/Sports/118144945-
                                                                                 533716131.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/05/2
                                                                                 0903-1491377389365-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
65       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/Sports/119811417-
                                                                                 579700095.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/17/2
                                                                                 0903-1492487897423-
                                                                                 Coffee-Mug-Black-
                                                                                 _w93_-front.jpg




66       April                                                                   https://www.sunfrog.co    Izi
                                                                                 m/117641548-
                                                                                 519811668.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/31/5
                                                                                 BEBE973-155D-158F-
                                                                                 B4F9A7097F4A3B63.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
67       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/Sports/119811406-
                                                                                 579699672.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/17/2
                                                                                 0903-1492487892080-
                                                                                 Coffee-Mug-Black-
                                                                                 _w92_-front.jpg




68       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/Sports/119811296-
                                                                                 579695928.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/17/2
                                                                                 0903-1492487841610-
                                                                                 Coffee-Mug-White-
                                                                                 _w91_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
69       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/119811332-
                                                                                 579697034.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/17/2
                                                                                 0903-1492487854946-
                                                                                 Coffee-Mug-White-
                                                                                 _w91_-front.jpg




70       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/Sports/119811493-
                                                                                 579702112.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/17/2
                                                                                 0903-1492487926683-
                                                                                 Coffee-Mug-Black-
                                                                                 _w91_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
71       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/119811401-
                                                                                 579699668.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/17/2
                                                                                 0903-1492487891836-
                                                                                 Coffee-Mug-White-
                                                                                 _w91_-front.jpg




72       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/Sports/119811294-
                                                                                 579695884.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/17/2
                                                                                 0903-1492487839300-
                                                                                 Coffee-Mug-Black-
                                                                                 _w93_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
73       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/119811428-
                                                                                 579700519.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/17/2
                                                                                 0903-1492487904261-
                                                                                 Coffee-Mug-White-
                                                                                 _w91_-front.jpg




74       April                                                                   https://www.sunfrog.co    Bomman
                                                                                 m/119811474-
                                                                                 579701610.html

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/17/2
                                                                                 0903-1492487919954-
                                                                                 Coffee-Mug-White-
                                                                                 _w93_-front.jpg




                                                            37

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Design   2017      Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
75       April                                                                     https://www.sunfrog.co    Bomman
                                                                                   m/119811425-
                                                                                   579700373.html

                                                                                   https://images.sunfrogs
                                                                                   hirts.com/2017/04/17/2
                                                                                   0903-1492487902236-
                                                                                   Coffee-Mug-White-
                                                                                   _w91_-front.jpg




76       March/A                                                                   https://www.sunfrog.co    DesignbySunTee
         pril                                                                      m/117687236-
                                                                                   521034322.html?86817

                                                                                   https://images.sunfrogs
                                                                                   hirts.com/2017/03/31/8
                                                                                   6817-1490976530682-
                                                                                   Gildan-Lad-Black-
                                                                                   _w91_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
77       March                                                                   https://www.sunfrog.co    BW999
                                                                                 m/116815592-
                                                                                 499593213.html?81088


                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/23/8
                                                                                 1088-1490254202640-
                                                                                 Gildan-Men-Black-
                                                                                 _w93_-front.jpg




78       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/117866353-
                                                                                 526039240.html?75226


                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/02/D
                                                                                 A3CD842-155D-158F-
                                                                                 B4916EB3481868EF.jpg




                                                            39

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
79       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/121798466-
                                                                                 633452581.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/29/7
                                                                                 5226-1493523374339-
                                                                                 Xlusion--L-Black-_w91_-
                                                                                 front.jpg




80       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/121795079-
                                                                                 633346802.html?75226


                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/29/7
                                                                                 5226-1493521467935-
                                                                                 Xlusion--L-Black-_w91_-
                                                                                 front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
81       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/121796242-
                                                                                 633383877.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/29/7
                                                                                 5226-1493522121341-
                                                                                 Xlusion--L-Black-_w91_-
                                                                                 front.jpg




82       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/121796570-
                                                                                 633393535.html?75226


                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/29/7
                                                                                 5226-1493522300261-
                                                                                 Xlusion--L-Black-_w91_-
                                                                                 front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
83       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/121796970-
                                                                                 633405931.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/29/7
                                                                                 5226-1493522528591-
                                                                                 Xlusion--L-Black-_w91_-
                                                                                 front.jpg




84       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/121798132-
                                                                                 633442303.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/29/7
                                                                                 5226-1493523192327-
                                                                                 Xlusion--L-Black-_w91_-
                                                                                 front.jpg




                                                            42

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
85       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/121797839-
                                                                                 633433318.html?75226


                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/29/7
                                                                                 5226-1493523030852-
                                                                                 Xlusion--L-Black-_w91_-
                                                                                 front.jpg




86       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/121796780-
                                                                                 633400555.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/29/7
                                                                                 5226-1493522431390-
                                                                                 Xlusion--L-Black-_w91_-
                                                                                 front.jpg




                                                            43

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
87       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/120006766-
                                                                                 585441097.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/19/7
                                                                                 5226-1492594053117-
                                                                                 Gildan-Men-Black-
                                                                                 _w93_-front.jpg




88       March                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/115800139-
                                                                                 475924293.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/7
                                                                                 5226-1489486477673-
                                                                                 Gildan-Lad-Black-
                                                                                 _w91_-front.jpg




                                                            44

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
89       March                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/115787499-
                                                                                 475662916.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/7
                                                                                 5226-1489474183141-
                                                                                 Gildan-Men-Navy-Blue-
                                                                                 _w93_-front.jpg




90       March                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/115787790-
                                                                                 475668699.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/F
                                                                                 3E99984-155D-1590-
                                                                                 898FE60CDBDB8D3B.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
91       March                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/115788158-
                                                                                 475676240.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/F
                                                                                 419D0C0-155D-1590-
                                                                                 89F16C1D7C2A5D51.jpg




92       March                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/115788600-4756862
                                                                                 50.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/F
                                                                                 44F731D-155D-1590-
                                                                                 89DEBE5E5D7A3460.jpg




                                                            46

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
93       March                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/115789009-
                                                                                 475696244.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/F
                                                                                 47E46B9-155D-1590-
                                                                                 89661A81C15E3CE0.jpg




94       March                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/117729507-
                                                                                 522152507.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/31/8
                                                                                 C26E355-155D-158F-
                                                                                 CB58715CBCA7DF47.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
95       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/117733824-
                                                                                 522267287.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/01/7
                                                                                 5226-1491022084578-
                                                                                 Gildan-Lad-Black-
                                                                                 _w92_-front.jpg




96       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/117734667-
                                                                                 522290138.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/01/7
                                                                                 5226-1491022859557-
                                                                                 Gildan-Lad-Black-
                                                                                 _w92_-front.jpg




                                                            48

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
97       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/117735255-
                                                                                 522305759.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/01/7
                                                                                 5226-1491023372744-
                                                                                 Gildan-Lad-Black-
                                                                                 _w92_-front.jpg




98       April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/117862987-
                                                                                 525954330.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/02/D
                                                                                 878DA84-155D-158F-
                                                                                 B4889765BFC1696A.jpg




                                                            49

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
99       March                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/115801982-
                                                                                 475948077.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/7
                                                                                 5226-1489488287547-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




100      March                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/115845016-
                                                                                 476801716.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/03/14/0
                                                                                 C15ACB1-155D-158F-
                                                                                 B4092B6540711B34.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
101      April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/117863559-
                                                                                 525967052.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/02/D
                                                                                 8BD246C-155D-158F-
                                                                                 B4EC4EDAC5369484.jpg




102      April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/117866616-
                                                                                 526048035.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/02/D
                                                                                 A6FB951-155D-158F-
                                                                                 B45BDB8EF98B6960.jpg




                                                            51

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
103      April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/118368238-
                                                                                 539796472.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/07/C
                                                                                 A189C24-155D-158F-
                                                                                 CB0D3B7C5086A865.jpg




104      April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/118384398-
                                                                                 540253688.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/07/7
                                                                                 5226-1491562434149-
                                                                                 Gildan-Men-Black-
                                                                                 _w91_-front.jpg




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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
105      April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/120013307-
                                                                                 585620540.html?75226

                                                                                 https://images.sunfrogs
                                                                                 hirts.com/2017/04/19/7
                                                                                 5226-1492596880712-
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106      April                                                                   https://www.sunfrog.co    Zorotaz
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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
107      April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/120326914-
                                                                                 594401317.html?75226

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                                                                                 F4A51A5-155D-1590-
                                                                                 9E21675207D0F96C.jpg




108      April                                                                   https://www.sunfrog.co    Zorotaz
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                                                                                 611673696.html?75226

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                                                                                 5226-1493090045270-
                                                                                 Gildan-You-Black-
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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
109      April                                                                   https://www.sunfrog.co    Zorotaz
                                                                                 m/121832311-
                                                                                 634414338.html?75226

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                                                                                 50A2845-155D-1590-
                                                                                 9EE98FB364569E6F.jpg




110      April                                                                   https://www.sunfrog.co    Zorotaz
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                                                                                 633362147.html?75226

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Design   2017    Infringing Product Image            Infringing Design Excerpt   SunFrog URLs              SunFrog Seller
No.      Month
111      April                                                                   https://www.sunfrog.co    Zorotaz
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                                                                                 5226-1493521642935-
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112      April                                                                   https://www.sunfrog.co    Zorotaz
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                                                                                 633323853.html?75226

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                                                                                 5226-1493521089044-
                                                                                 Xlusion--L-Black-_w91_-
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